Case 5:20-cv-05067-PKH Document 21        Filed 09/25/20 Page 1 of 1 PageID #: 111




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION

DENNIS KELLY and STEVE SATERBO                                           PLAINTIFFS

v.                              Case No. 5:20-CV-05067

INDEPENDENT QUALITY FOODS, LLC                                          DEFENDANT

                                   JUDGMENT

     Pursuant to the order entered in this case on this date, this matter is DISMISSED

WITHOUT PREJUDICE.

     IT IS SO ADJUDGED this 25th day of September, 2020.


                                                    /s/P. K. Holmes, ΙΙΙ
                                                    P.K. HOLMES, III
                                                    U.S. DISTRICT JUDGE
